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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA
STEPHEN DOUGLASS, individually                     )
and as personal representative of the              )
ESTATE OF SHINGO ALEXANDER DOUGLASS                )
                                                   )
DORA HERNANDEZ, individually                       )
and as personal representative of the              )
ESTATE OF NOE HERNANDEZ                            )
                                                   )
LAN HUYNH, individually                            )      CIVIL ACTION NO: 19-cv-13688
and as personal representative of the              )
ESTATE OF NGOC TRUONG HUYNH                        )
                                                   )
DARROLD MARTIN, individually                       )      SECTION "I" (3)
and as personal representative of the              )
ESTATE OF XAVIER ALEC MARTIN                       )
                                                   )
ERIN REHM, individually                            )      JUDGE: LANCE M. AFRICK
and as personal representative of the              )
ESTATE OF GARY LEO REHM, JR.                       )
                                                   )
LLOYD WAYNE RIGSBY, JR., individually              )      MAGISTRATE: DANA DOUGLAS
and as personal representative of the              )
ESTATE OF DAKOTA KYLE RIGSBY                       )
                                                   )
and                                                )
                                                   )
CARMEN SIBAYAN, individually                       )
and as personal representative of the              )
ESTATE OF CARLOS VICTOR GANZON SIBAYAN             )
                                                   )
       Plaintiffs,                                 )
                                                   )
v.                                                 )
                                                   )
NIPPON YUSEN KABUSHIKI KAISHA                      )
                                                   )
       Defendant.                                  )
                                                   )

                                        COMPLAINT

       Plaintiffs Stephen Douglass, individually and as personal representative of the Estate of

Shingo Alexander Douglass, Dora Hernandez, individually and as personal representative of the
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Estate of Noe Hernandez, Lan Huynh, individually and as personal representative of the Estate of

Ngoc Truong Huynh, Darrold Martin, individually and as personal representative of the Estate of

Xavier Alec Martin, Erin Rehm, individually and as personal representative of the Estate of Gary

Rehm, Jr., Lloyd Wayne Rigsby, Jr., individually and as personal representative of the Estate of

Dakota Kyle Rigsby, and Carmen Sibayan, individually and as personal representative of the

Estate of Carlos Victor Ganzon Sibayan, by and through the undersigned counsel, bring these

wrongful death and survival actions against Defendant Nippon Yusen Kabushiki Kaisha

(hereinafter “NYK Line”). Based upon knowledge, information, and belief, these Plaintiffs allege

the following:

                                               BACKGROUND

        1.       These claims arise out of the collision between the USS Fitzgerald and the ACX

Crystal off the coast of Japan on June 17, 2017. The collision flooded the USS Fitzgerald, killing

seven (7) young Sailors and injuring scores of others. 1 The Plaintiffs in this action represent all of

the Sailors who were killed as a result of the ACX Crystal’s crew’s reckless and negligent conduct.

All decedents suffered severe physical and emotional pain and distress prior to drowning as a direct

result of the collision and its aftermath.

                                                   PARTIES

The Plaintiffs

        2.       Plaintiff Stephen Douglas is a resident of Oceanside, California, and is the Personal

Representative of the Estate of Shingo Alexander Douglass. Shingo Alexander Douglass was born

on December 19, 1991. Shingo’s residence at the time of death was in Oceanside, California. At



1
 See Alcide, et al. v. Nippon Yusen Kabushiki Kaisha, which is the companion case for Sailors who survived this
collision.


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the time of his death, he was a Yeoman 3rd Class (E-3) in the U.S. Navy. Plaintiff Stephen

Douglass was his father.

        3.     Plaintiff Dora Hernandez is resident of Edinburgh, Texas, and is the Personal

Representative of the Estate of Noe Hernandez. Noe Hernandez was born on December 17, 1990.

Noe’s residence at the time of death was in Japan. At the time of his death, he was a Gunner’s

Mate 2nd Class (E-5) in the U.S. Navy. Plaintiff Dora Hernandez was his wife.

        4.     Plaintiff Lan Huynh is a resident of Broken Arrow, Oklahoma, and is the Personal

Representative of the Estate of Ngoc Truong Huynh. Ngoc Truong Huynh was born on June 16,

1992. Ngoc’s residence at the time of death was in Oakville, Connecticut. At the time of his death,

he was a Sonar Technician 3rd Class (E-4) in the U.S. Navy. Plaintiff Lan Huynh was his sister.

        5.     Plaintiff Darrold Martin is a resident of Halethorpe, Maryland, and is the Personal

Representative of the Estate of Xavier Alec Martin. Xavier Alec Martin was born on September

27, 1992. Xavier’s residence at the time of death was in Halethorpe, Maryland. At the time of his

death, he was a Personnel Specialist 1st Class (E-6) in the U.S. Navy. Plaintiff Darrold Martin was

his father.

        6.     Plaintiff Erin Rehm is a resident of Hampton, Virginia, and is the Personal

Representative of the Estate of Gary Leo Rehm, Jr. Gary Leo Rehm, Jr. was born on October 2,

1979. Gary’s residence at the time of death was in Hampton, Virginia. At the time of his death, he

was a Fire Controlman 1st Class (E-6) in the U.S. Navy. Plaintiff Erin Rehm was his wife.

        7.     Plaintiff Lloyd Wayne Rigsby, Jr. is a resident of Palmyra, Virginia, and is the

Personal Representative of the Estate of Dakota Kyle Rigsby. Dakota Kyle Rigsby was born on

September 12, 1997. Dakota’s residence at the time of death was in Palmyra, Virginia. At the time




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of his death, he was a Gunner’s Mate Seaman (E-2) in the U.S. Navy. Plaintiff Lloyd Wayne

Rigsby, Jr. was his father.

           8.       Plaintiff Carmen Sibayan is a resident of Chula Visa, California, and is the Personal

Representative of the Estate of Carlos Victor Ganzon Sibayan. Carlos Victor Ganzon Sibayan was

born on December 8, 1993. Carlos’s residence at the time of death was in Chula Vista, California.

At the time of his death, he was a Fire Controlman 2nd Class (E-5) in the U.S. Navy. Plaintiff

Carmen Sibayan was his mother.

The Defendant

           9.       The defendant in this case is Nippon Yusen Kabushiki Kaisha, a Japanese

corporation, doing business as “NYK Line,” and is hereinafter referred to as NYK Line. NYK

Line’s corporate headquarters is located at 3-2 Marunouchi, 2-Chome, Chiyoda-Ku, Tokyo 100-

0005, Japan.

           10.      Upon information and belief, NYK Line is one of the largest shipping and logistics

conglomerates in the world, doing business globally in Japan and the United States, as well as

North and South America, Australia, Africa, East and South Asia, and Europe.

           11.      On its website, 2 NYK Line holds out to the public that its business operates as a

corporate “Group” through several hundred wholly-owned subsidiary companies. NYK Line has

accordingly adopted a “Group Mission Statement,” a “Code of Conduct,” a “Business Credo,” and

a “Corporate Profile.” The NYK Line “Group” operates a fleet of 710 vessels (as of March 19,

2019). NYK Line has formally adopted “Corporate Governance Guidelines,” effective November

26, 2015, that emphasize the integrated operation of the NYK Group. Article 2 of these Guidelines

refers to operating a “set of systems, organizations or frameworks” for making business decisions.



2
    https://nyk.com/english


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Article 3 of these Guidelines formally adopts the Group Mission Statement and integrated

management of all NYK companies.

           12.         On June 17, 2017, the date of the collision between the ACX Crystal and the USS

Fitzgerald, the registered owner of the ACX Crystal was Olympic Steamship Co. S.A., a

Panamanian corporation. Upon information and belief, Olympic Steamship Co. S.A. is a special

purpose entity that was acting on behalf of Dainichi-Invest Co. Ltd., a Japanese company with its

sole office in Kobe, Japan. Upon information and belief, Dainichi-Invest Co. Ltd. is an investment

entity acting on behalf of the real owner of the ACX Crystal, NYK Line.

           13.         As NYK Line itself stated in multiple press releases published on its website in the

immediate aftermath of the collision, NYK Line was the sole charterer of the ACX Crystal on June

17, 2017. 3 Upon information and belief, on the date of the collision, NYK Line was acting as the

demise (bareboat) charterer of the ACX Crystal, with principal responsibility for the navigation

and/or operation of the ACX Crystal. Alternatively, upon information and belief, NYK Line was

acting as the time charterer of the ACX Crystal and participated in the navigation of the ACX

Crystal on June 17, 2017. Thus, upon information and belief, NYK Line engaged in and/or

participated in the negligent conduct that caused the death of the Plaintiffs’ decedents in this action.

In fact, NYK Line has publicly apologized for the collision, 4 an acknowledgement of

responsibility.

           14.         Upon information and belief, as stated in the English translation of the Marine

Accident Investigation Report released by the Japan Transport Safety Board (JTSB) [hereinafter

JTSB Report], at the time of the collision an officer of the ACX Crystal was “a navigator of NYK




3
    See Exhibits 1-4
4
    See Exhibit 1


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Containr [sic] Line Co., Ltd.” Further, according to the JTSB Report, NYK Container Line Co.

Ltd. was the “operator” of the ACX Crystal at the time of the collision.

       15.     Upon information and belief, on June 17, 2017, Asia Container Express, known as

ACX, employed the ACX Crystal for the purpose of shipping containers. Asia Container Express

is the intra-Asia container shipping arm of NYK Line. Thus, on the date of the collision, NYK

Line was involved in multiple ways in the operation and navigation of the ACX Crystal.

       16.     Upon information and belief, NYK Container Line Co. Ltd., Asia Container

Express, and other NYK affiliated companies or business entities participating in the management

and/or navigation of the ACX Crystal on June 17, 2017, were acting as agents and/or

instrumentalities of NYK Line.

   JURISDICTION, CHOICE OF LAW, VENUE, AND THE DEFENDANT’S PERVASIVE
                   CONTACTS WITH THE UNITED STATES

       17.     This court has jurisdiction of these causes of action pursuant to 28 U.S.C. § 1333

(admiralty and maritime cases), and the Plaintiffs in this case choose to proceed under the saving

to suitors clause of 28 U.S.C. § 1333, which authorizes Plaintiffs to invoke the jurisdiction of this

court and to proceed under 28 U.S.C. § 1332 (diversity of citizenship), all claims being in excess

of $75,000 excluding costs and interest. In addition, the court has jurisdiction over this case under

28 U.S.C. § 1331 (federal question).

       18.     Although the collision that is the subject of this cause occurred approximately 80

nautical miles southwest of the US Naval base at the port of Yokosuka, Japan, and within the

territorial waters of Japan, maritime choice of law principles announced by the Supreme Court of




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the United States 5 point unequivocally to the application of United States law in this cause of

action.

          19.    The claims in the case at bar arise under the Death on the High Seas Act (DOHSA),

46 U.S.C. § 30301 et seq. DOHSA applies to this case in that the negligence committed by

personnel working as agents and/or instrumentalities of NYK Line in connection with the collision

between the USS Fitzgerald and the ACX Crystal, which caused the deaths of all Plaintiffs’

decedents in this Complaint, occurred on the “high seas” more than three nautical miles from the

shores of the United States. In addition, Japanese law applies through the application of DOHSA,

46 U.S.C. § 30306.

          20.    Personal jurisdiction over NYK Line is proper in the case at bar pursuant to Rule

4(k)(2) of the Federal Rules of Civil Procedure in that the claims involved arise under federal law,

NYK Line is a foreign corporation that is not subject to jurisdiction in any state’s court of general

jurisdiction, and NYK Line has substantial, systematic and continuous contacts with the United

States as a whole. Thus, this court has personal jurisdiction over NYK Line in the case at bar,

consistent with the Fifth Amendment’s Due Process Clause.

          21.    NYK Line’s presence in the United States is long-standing: It first opened its offices

in New York in 1920. 6

          22.    Upon information and belief, NYK Line operates at least thirteen wholly-owned

subsidiary companies in the United States. Upon further information and belief, NYK Line

conducts numerous business activities in the United States, including operating twenty-seven

shipping terminals in United States’ ports, more than it operates in Japan.



5
  See e.g. Lauritzen v. Larson, 345 U.S. 571 (1953); Romero v. International Terminal Operating Co., 358 U.S. 354
(1959); and Hellenic Lines v. Rhoditis, 398 U.S. 306 (1970).
6
   See Exhibit 5


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       23.     Part of NYK Line’s corporate “Group” includes a Regional Management Office in

Secaucus, New Jersey, as well as subsidiaries across the United States that collectively serve each

of NYK Line’s business industries, including Liner Trade, Logistics, Bulk Shipping, and other

business services.

       24.     NYK Line employs approximately 2,700 people in North America, the vast

majority of whom are employed in the United States.

       25.     Upon information and belief, NYK Line vessels regularly call on at least thirty

United States’ ports, located both on the east and west coasts and the Gulf of Mexico, including

the port of New Orleans.

       26.     NYK Line has offices in many states in the United States, including Secaucus, New

Jersey and Los Angeles and Oakland, California.

       27.     NYK Line’s business activities in the United States are under the control of NYK

Line as to sales, finance, and corporate policies.

       28.     Upon information and belief, NYK Line operates its wholly-owned subsidiaries in

the United States and its U.S. offices as a corporate group and an integrated whole. Upon

information and belief, NYK Line shares high-level corporate personnel with its wholly-owned

U.S. subsidiaries. For example, the Chief Executive Officer of NYK Line North America, Mr.

Hiroshi Kubota, is also a corporate officer of NYK Line, Tokyo, and a member of NYK Line’s

Corporate Planning Group and Group Management Promotion Group in Tokyo. Upon information

and belief, Mr. Kubota had and continues to have corporate responsibilities as it relates to NYK

Line in Japan and in the United States. Mr. Kubota has lived and worked for NYK Line in both




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the United States and Japan. Upon further information and belief, he currently acts as the Chief

Executive Officer of NYK North America while living in Japan and working for NYK Line. 7

        29.     NYK Line’s Group Americas is one of NYK Line’s primary subsidiaries and NYK

Line maintains 100 percent of its voting rights. Upon information and belief, NYK Line’s wholly-

owned subsidiaries operating in the United States act as agents and/or instrumentalities of NYK

Line. Under these circumstances, it would be grossly unfair to allow NYK Line to evade this

court’s jurisdiction by relying on its many wholly-owned subsidiaries to disguise its own pervasive

contacts with the United States.

        30.     NYK Line’s acquisitions in the United States also demonstrate the extent of its

contacts here. For example, upon information and belief, in 2002, NYK Line acquired and now

owns Ceres Terminals, which operates ports and terminals throughout the United States. 8 Ceres

Terminals operates New Orleans Terminal LLC at the Napoleon Avenue Terminal. This terminal

handles 165,000 containers per year. 9 Ceres Terminals has an active filing with the Louisiana

Secretary of State.

        31.     Also in Louisiana, NYK Line is actively promoting its new ventures in Liquefied

Natural Gas. Upon information and belief, NYK Line is an equity partner in a natural gas facility

that recently opened in Hackberry, Louisiana. The project plans to produce 12 million tons of

liquefied natural gas per year. 10 Additionally, upon information and belief, NYK Line signed a

deal to manage the shipment of liquefied natural gas from Louisiana. 11 Importantly, NYK Line

has the world’s largest share of total liquefied natural gas capacity (6.3 percent).



7
  See Exhibits 6-8
8
  https://www.nyk.com/english/ir/library/fact01/pdf/2017_factbook01_all.pdf
9
  https://www.ceresglobal.com/locations/new-orleans.html
10
   https://www.nyk.com/english/news/2019/20190514_01.html
11
   MarineLink, “NYK in Charter Agreement with Mitsubishi,” (December 12, 2018)
https://www.marinelink.com/news/nyk-charter-agreement-mitsubishi-460665 (accessed Nov. 1, 2019).


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        32.     Additionally, in November 2016, NYK Line acquired a 20 percent stake in Maher

Terminals, which operates a terminal in the United States Port of New York and New Jersey. The

Maher terminal is the largest in the port. 12

        33.     NYK Line devotes a substantial amount of resources to do business with the United

States. In 2012, NYK Line dedicated seven of its vessels exclusively for Toyota’s North American

service for the delivery of automobiles to the United States. 13

        34.     Overall, NYK Line’s revenue in North America for the fiscal year ending March

31, 2017 was $1.36 billion. For the fiscal year ending March 31, 2019, NYK Line’s revenue in

North America was $1.47 billion. Upon information and belief, the vast majority of this revenue

came from business activity in and with the United States.

        35.     In 2013, NYK Line reportedly stood as the 12th ranked container carrier in the

containerized import trade for the United States. NYK Line’s market share is increasing rapidly

year-over-year. 14

        36.     In 2013, NYK Line was ranked 10th in the United States containerized export trade.

NYK Line’s market share is increasing rapidly year-to-year. 15

        37.     As even further evidence of their significant business activities in the United States,

NYK Line previously engaged in a criminal scheme in furtherance of its business interests.

According to the United States Department of Justice, between 1997 to at least 2012, NYK Line

was involved in a “conspiracy to fix prices, allocate customers, and rig bids of international ocean

shipping services for roll-on, roll-off cargo, such as cars and trucks, to and from the United States



12
   https://www.nyk.com/english/release/4208/004529.html
13
   The New York Times, “Around the World with 5,500 Cars” (July 13, 2012).
https://www.nytimes.com/2012/07/15/automobiles/around-the-world-with-5500-cars.html (accessed Nov. 1, 2019).
14
   JOC Maritime News, “NYK Line,” https://www.joc.com/maritime-news/container-lines/nyk-line (accessed Nov.
1, 2019).
15
   Id.


                                                   - 10 -
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and elsewhere.” 16 NYK Line pleaded guilty to felony charges associated with this criminal price

fixing conspiracy for shipments to and from the United States. 17 For its extensive felonious

activities with the United States for more than a decade, NYK Line paid about $60 million in

criminal fines. 18

        38.      NYK Line has purposefully and profitably availed itself of the benefits and

protections afforded by the United States’ Constitution and laws. Accordingly, NYK Line’s

contacts with the United States as a whole are so significant, extensive, systematic, and continuous

as to render it essentially “at home” in the United States.

        39.      Venue in the case at bar is proper in this court pursuant to 28 U.S.C. § 391(b)(3),

as this is a judicial district in which NYK Line is subject to this court’s service of process and

personal jurisdiction with respect to this action, and there being no other judicial district in which

NYK Line resides, or in which a substantial part of the events or omissions relating to the case at

bar occurred.




16
   Department of Justice Press Release, “Third Company Agrees to Plead Guilty to Price Fixing on Ocean Shipping
Services for Cars and Trucks,” (December 29, 2014), https://www.justice.gov/opa/pr/third-company-agrees-plead-
guilty-price-fixing-ocean-shipping-services-cars-and-trucks (accessed Nov. 1, 2019).
17
   Id.
18
   Id.


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                          FACTS APPLICABLE TO ALL COUNTS

Introduction and Background of the USS Fitzgerald




                       Figure 1: The USS Fitzgerald in September 2014

       40.    The USS Fitzgerald is a 505-foot long, 8,300-deadweight ton Arleigh Burke-class

destroyer that is owned and operated by the United States Navy. The USS Fitzgerald was launched

in January 1994 and commissioned in October 1995.

       41.    On the morning of June 16, 2017, the USS Fitzgerald left its home port of

Yokosuka, Japan, to conduct military operations. It had onboard one Commanding Officer, three

Watch Officers, one Able Seaman, and 288 Crewmembers.

       42.    On June 17, 2017, at approximately 1:30 AM, the ACX Crystal, a container ship,

struck the USS Fitzgerald. The collision happened in the vicinity of the Mikomoto Shima




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Voluntary Traffic Separation Scheme (VTSS), approximately nine (9) nautical miles off the coast

of Japan.

       43.     The ACX Crystal’s bow collided with the USS Fitzgerald on its starboard side,

tearing a 13’ x 17’ hole in its hull, just aft of Berthing Unit 2. It also breached the Auxiliary

Machine Room of the USS Fitzgerald, causing flooding.




  Figure 2: Diagram of approximate point of impact between the USS Fitzgerald (left) and the
                                    ACX Crystal (right)

       44.     The striking of the USS Fitzgerald by the ACX Crystal caused the drowning deaths

of seven (7) Sailors, all of whom resided in Berthing Unit 2 on the USS Fitzgerald’s starboard side

and are the subjects of this Complaint.




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Configuration of the USS Fitzgerald




Figure 3: Diagram of Berthing Unit 2 layout indicating location of egress points and rack rows

       45.        Berthing Unit 2 has three egress points: a water-tight hatch and an emergency

escape scuttle on the port-side, and a non-tight door set in a non-structural bulkhead on the

starboard side.

       46.        On the port-side, a ladder leads from Berthing 2 through a hatch with a water-tight

scuttle to the Berthing 1 port vestibule.

       47.        On the starboard side, a non-tight door leads aft into the Berthing 2 starboard

vestibule, which has a ladder up through a hatchway to the Berthing 1 starboard vestibule.

       48.        The non-tight door leads forward into a lounge on the starboard side.

       49.        There is no water-tight hatch between Berthing 1 and Berthing 2 starboard

vestibules.

       50.        Berthing Unit 2 has 42 racks. The racks are positioned in four rows and are in stacks

of three, such that there is a bottom, middle, and top rack.




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           51.      All seven deceased Sailors’ racks were located in rows 3 and 4, the rows nearest

the starboard side hole in the USS Fitzgerald’s hull. Fourteen of the 24 Sailors in these rows

escaped Berthing Unit 2. None of the deceased Sailors were found in this area.

           52.      The head (toilet) is located on the forward side of Berthing Unit 2. The door to the

head opens inward.

Known Information Concerning the ACX Crystal and Its Operations at the Time of the
Collision

           53.      The ACX Crystal is a 730-foot long, 39,565-deadweight ton container ship that was

launched on June 20, 2008.

           54.      On June 17, 2017, the registered owner of the ACX Crystal was Olympic Steamship

Co. S.A., a Panamanian corporation. Upon information and belief, Olympic Steamship Co. S.A.

is a special purpose vehicle acting on behalf of Dainichi-Invest Co. Ltd., a Japanese company with

its sole office in Kobe, Japan. Upon information and belief, Dainichi-Invest Co. Ltd. is an

investment vehicle acting on behalf of the real beneficial owner of the ACX Crystal, which is NYK

Line.

           55.      As NYK Line itself stated in multiple press releases published on its website in the

immediate aftermath of the collision, NYK Line was the sole charterer of the ACX Crystal on June

17, 2017. 19 Thus, upon information and belief, NYK Line engaged in and/or participated in the

negligent conduct that caused the death of the Plaintiffs’ decedents in this action. In fact, NYK

Line has publicly apologized for the collision. 20

           56.      Upon information and belief, as stated in the English translation of the JTSB

Report, at the time of the collision an officer of the ACX Crystal was “a navigator of NYK Containr



19
     See Exhibits 1-4.
20
     See Exhibit 1.


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[sic] Line Co., Ltd.” Further, according to the JTSB Report, NYK Container Line Co. Ltd. was the

“operator” of the ACX Crystal on June 17, 2017.

          57.   Upon information and belief, on June 17, 2017, Asia Container Express, known as

ACX, employed the ACX Crystal for the purpose of shipping containers. Asia Container Express

is the intra-Asia container shipping arm of NYK Line. Thus, on the date of the collision, NYK

Line was involved in multiple ways in the operation and navigation of the ACX Crystal.

          58.   In the minutes preceding the collision, the ACX Crystal’s Able-Bodied Seaman saw

a vessel, the USS Fitzgerald, through his binoculars. He informed the Second Mate, who checked

the radar.

          59.   Despite knowledge that they were in a high-traffic area with approximately twenty-

five vessels in a 20,000 yard radius, neither the Seaman nor the Second Mate nor anyone else

involved in the operation of the ACX Crystal informed the ACX Crystal’s Master of the presence

or course of the USS Fitzgerald, in violation of the ACX Crystal’s own Standing Orders. Neither

they, nor anyone else involved in the operation of the ACX Crystal, altered their navigation course

or attempted to contact the observed vessel at this time. Instead, the ACX Crystal simply stayed its

course.

          60.   At approximately 1:27 AM, just three minutes before the collision, the Second Mate

flashed a signal light down the line of bearing toward the USS Fitzgerald. Despite taking this

action, he did not sound any short blasts whatsoever, let alone the five such blasts required by the

International Rules of the Road.

          61.   At approximately 1:29 AM, just one minute before the collision, the Second Mate

flashed a second light down the line of bearing toward the USS Fitzgerald. At the same time, he




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took the ACX Crystal off of autopilot and attempted to perform very tardy evasive maneuvers in

order to avoid the collision.

       62.      According to the report titled Investigation into the Collision at Sea Between USS

Fitzgerald (DDG 62) and ACX Crystal on or about 17 June 2017 released by the U.S. Department

of the Navy dated 19 December 2017 (henceforth, “Navy Report”),

       CRYSTAL Bridge watchstanders . . . did not contact the Master prior to the collision,

       did not sound at least five short blasts, and made no attempt to hail FTZ [Fitzgerald]

       via bridge-to-bridge radio. CRYSTAL’s navigation lights were illuminated, and

       CRYSTAL was in autopilot until just prior to impact. Prior to the collision,

       CRYSTAL watchstanders came out of autopilot and initiated a turn to starboard, too

       late to have adequate effect.

       63.      Because of these and other failures of the ACX Crystal and its crew, the bow of the

ACX Crystal collided with the USS Fitzgerald on its starboard side at a high rate of speed.

       64.      The Navy Report concluded that one of the “root causes” of the collision was the

fact that “CRYSTAL’s Second Officer demonstrated poor seamanship contrary to the International

Rules of the Road.” Specifically, according to the Report’s conclusions about the ACX Crystal’s

Second Officer:

             a. “He failed to maintain a proper lookout so as to make a full appraisal of the risk of

                collision with FTZ.

             b. He failed to determine if a risk of collision with FTZ existed by using all available

                means.




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             c. He failed to appreciate, by radar or visual observation, that FTZ was on a constant

                bearing with a decreasing range, which observation would have led him to deem

                risk of collision to exist.

             d. With ample time available to take positive action to avoid collision, he failed to

                take any such action.

             e. He failed to maintain course and speed by turning to port (in accordance with

                CRYSTAL’s voyage plan) despite the risk of collision.

             f. He failed to take action to avoid collision once it became apparent that action by

                FTZ alone would not avoid the collision.

             g. He failed to give at least five short and rapid blasts on CRYSTAL’s whistle once

                in doubt as to whether FTZ was taking action to avoid collision.

             h. In addition, the Second Officer failed to follow CRYSTAL’s Standing Orders by

                failing to call the Master when FTZ’s CPA was within one nautical mile and failing

                to take frequent and accurate compass bearings of FTZ to detect the risk of

                collision.”

Damage to the USS Fitzgerald

       65.      The ACX Crystal’s bulbous bow impacted the USS Fitzgerald below the waterline

just aft of Berthing Unit 2, creating a hole in the hull that was approximately 13’ x 17’. The ACX

Crystal also breached the forward bulkhead of Auxiliary Machine Room 1 (AUX 1).

       66.      Above the waterline, the ACX Crystal’s port bow impacted the USS Fitzgerald’s

superstructure from the second level down to the main deck, severely deforming it.




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                    Figure 4: Front view of damage to USS Fitzgerald above waterline

       67.     Berthing Unit 2 was completely flooded within two minutes of the collision as a

direct result of the impact.

       68.     During a post-collision assessment of the Berthing Unit 2 space, it was discovered

that many Berthing 2 lockers became unsecured immediately following the collision. In addition,

several racks had detached. In particular, the inboard racks of rows 3 and 4 appear to have

completely detached from the overhead and collapsed in the space.




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                     Figure 5: Berthing Unit 2 racks post de-flooding




  Figure 6: Starboard side of Berthing Unit 2 looking forward to aft from the Chief Petty
               Officer Gear Locker through the lounge area to the vestibule


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        69.      Auxiliary Machinery Room Number 1 was completely flooded as a result of the

collision. A 12’ x 12’ hole was reported in AUX1.

        70.      Berthing Unit 1 was partially flooded (five feet of water on deck) as a result of the

collision.

        71.      According to the Navy Report, there was significant structural damage to the

Commanding Officer’s Cabin, Repair Locker Number 2 passageway, Combat Information Center

passageway, multiple Radar and Radar array rooms, fan rooms, Combat Systems Maintenance

Central airlock and ladder-well, Electronic Workshop Number 1, and the Starboard Break.

        72.      The damage to the USS Fitzgerald as a whole was extensive, with a total estimated

repair cost of $368.7 million. 21

        73.      At the time of the collision, all decedents in this Complaint were in areas of the

USS Fitzgerald dangerously affected by the collision. All decedents in the Complaint suffered

serious physical and psychological pain and suffering, as well as pre-death fright, as a direct result

of the collision and the actions they took to attempt to save their own lives.




21
  USNI News, “USS Fitzgerald Back in Yokosuka After Suffering Damage During Transit” (November 27, 2017),
https://news.usni.org/2017/11/27/uss-fitzgerald-back-yokosuka-suffering-damage-transit (accessed Nov. 1, 2019).


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                    Figure 7: Side view of damage to USS Fitzgerald above waterline

Narrative of Berthing Unit 2

       74.     Immediately after the collision, water began pouring into Berthing Unit 2. Some

Sailors were jolted awake and thrown from their racks. Several witnesses recall rapidly rising water

and a wall of water rushing toward them. The water pressure was so intense that several Sailors

were pulled away from the port-side scuttle exit by the rushing water. The only light source was

ambient light from the scuttle. Many Sailors swam to reach the port-side ladder to exit the unit as

the water level rose first to their necks, and then above their heads.

       75.     Surviving Sailors also recalled seeing lockers, mattresses, and other debris floating

into the aisles between the racks, making it difficult for them to exit the unit speedily and safely.




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       76.     Two Sailors, including Joshua Tapia, waited at the bottom of the port-side ladder

and pushed people through the scuttle. When the water level rose to a level such that they were no

longer able to stand, they egressed themselves.

       77.     Tapia and the other Sailor waited in the vestibule above the port-side of Berthing

Unit 2 and pulled Sailors, including Jackson Schrimsher and John Mead, out of the scuttle.

Eventually, water began pouring out of Berthing 2 into the above vestibule. Fearing for the

structural integrity of the whole ship, the Sailors ultimately decided to close the scuttle, knowing

that all of their shipmates were not accounted for.

       78.     Ultimately, 27 Sailors escaped through the port-side scuttle.

       79.     Seven (7) Sailors died from drowning in Berthing Unit 2, all of whom were located

on the starboard side. At the time, the collision represented the largest loss of life for the United

States Navy at sea since 1975. The Legal Representatives of all seven deceased Sailors have

brought the instant action.

       80.     After the collision, divers who entered the hole on the starboard side of Berthing

Unit 2 discovered the bodies of all seven decedents. All had drowned.

Conscious Pain and Suffering of Decedent Sailors

       81.     The conscious pain and suffering of drowning and near-drowning victims is well-

known to be so severe and universal that simulated drowning has been used as a method of harsh

interrogation and torture.

       82.     None of the decedent Sailors were killed by the initial impact of the collision. On

the contrary, all decedent Sailors suffered from a significant period of extreme conscious pain and

suffering and pre-death fright from the time of the collision until their deaths by drowning. This

conscious pain and suffering included, but was not limited to, the following:




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    a. During the estimated 1 to 2 minutes it took for Berthing Unit 2 to fill with water,

       the decedent Sailors struggled to stay above the surface of the water, experiencing

       terror, panic, and pre-death fright due to their recognition of the dire circumstances

       of their situation.

    b. While the water level progressively rose, furniture and other debris became

       obstacles to their escape, thus leading to increased terror and panic.

    c. In light of the reported water temperature, the decedent Sailors experienced “cold

       shock,” consisting of gasping, hyperventilation, peripheral vasoconstriction,

       increased heart rate and blood pressure, arrhythmia, decreased cerebral blood flow,

       pain, and activation of temperature-sensitive nerves.

    d. Even after the Sailors in Berthing Unit 2 became totally submerged, all decedent

       Sailors experienced continued conscious pain and suffering for an additional 2.5 to

       3 minutes. The inhalation of seawater as reported in the autopsies of the decedent

       Sailors is indicative of such consciousness.

    e. Specifically, the conscious pain and suffering after submersion included panic as

       the Sailors tried to reach the surface, followed by a period of voluntary breath

       holding until “air hunger” and stimulation of the respiratory center in the brain

       resulted in the inhalation of large volumes of water.

    f. This inhalation of water likely led to coughing, vomiting, and progressive loss of

       consciousness with associated convulsions and arrhythmias.

    g. As the lungs of the struggling Sailors filled with water, and after being completely

       submerged for 2 ½ to 3 minutes, there was eventually no longer an opportunity for




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               gas exchange, and the oxygen in their blood ultimately became insufficient to

               sustain consciousness and heart function.

                         CLAIMS ON BEHALF OF THE DECEDENTS

The Death of Shingo Alexander Douglass

                        COUNT I—46 U.S.C. §§ 30301-30308 (DOHSA)
                         WRONGFUL DEATH (PLAINTIFF DOUGLASS)

       83.     Plaintiffs hereby incorporate by reference all paragraphs in the Complaint as though

fully alleged herein and further allege as follows:

       84.     The claims in the case at bar arise under the Death on the High Seas Act (DOHSA),

46 U.S.C. § 30301 et seq. DOHSA applies to this case in that the negligence committed by

personnel of NYK Line in connection with the collision between the USS Fitzgerald and the ACX

Crystal, causing the deaths of seven (7) United States Navy seamen, occurred on the “high seas”

more than three nautical miles from the shores of the United States. In addition, Japanese law

applies through the application of DOHSA, 46 U.S.C. § 30306, allowing for the recovery of both

economic and non-economic damages for wrongful death.

       85.     Therefore, Plaintiff Douglass pleads a cause of action for the wrongful death of

Shingo Alexander Douglass under 46 U.S.C. § 30302, which states in relevant part that “[w]hen

the death of an individual is caused by wrongful act, neglect, or default occurring on the high seas

beyond 3 nautical miles from the shore of the United States, the personal representative of the

decedent may bring a civil action in admiralty against the person or vessel responsible.” 46 U.S.C.

§ 30302.

       86.     Additionally, under 46 U.S.C. § 30306, “[w]hen a cause of action exists under the

law of a foreign country for death by wrongful act, neglect, or default on the high seas, a civil




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action in admiralty may be brought in a court of the United States based on the foreign cause of

action, without abatement of the amount for which recovery is authorized.” 46 U.S.C. § 30306.

       87.      Japanese law provides for the recovery of damages for the death of an individual

caused by the negligence of another. Under Japanese law, legal heirs of the deceased can recover

both economic and non-economic damages as a result of the loss of their decedent family member.

       88.      At all times relevant herein, NYK Line, as the charterer and employer of the ACX

Crystal at the time of the collision, is liable for the negligence of the crew of the ACX Crystal. The

negligent acts and omissions by NYK Line, through the ACX Crystal’s crew, include, but are not

limited to, the following:

             a. Failure to contact the Master prior to the collision;

             b. Failure to sound any short blasts whatsoever, let alone the five such blasts required

                by the International Rules of the Road;

             c. Failure to attempt to hail the USS Fitzgerald via bridge-to-bridge radio;

             d. Failure to take the vessel out of autopilot until just prior to impact;

             e. Failure to perform timely evasive maneuvering to avoid collision;

             f. Failure to otherwise warn the USS Fitzgerald of the impending collision; and

             g. Failure to otherwise follow the International Rules of the Road and its own standing

                orders.

       89.      As a direct and proximate result of NYK Line’s negligence, the ACX Crystal struck

the USS Fitzgerald and caused Shingo Alexander Douglass to suffer injuries, including drowning,

which led to his untimely death.

       90.      As a direct and proximate result of the collision, Shingo Alexander Douglass

suffered from extreme conscious physical, mental, and emotional pain and suffering, as well as




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pre-death fright. His immediate pre-death physical injuries included, but are not limited to, injuries

to his shoulders, as evidenced by contusions, abrasions, and lacerations.

       91.      As a result of the collision and Shingo Alexander Douglass’s death, his lawful

beneficiaries have suffered and will continue to suffer from extreme anguish and mental suffering,

and pecuniary losses, including loss of financial and other support, loss of past income and future

wages and wage earning capacity, and loss of household services, among other damages.

                          COUNT II—46 U.S.C§§ 30301-30308 (DOHSA)
                           SURVIVAL ACTION (PLAINTIFF DOUGLASS)

       92.      Plaintiffs hereby incorporate by reference all paragraphs in the Complaint as though

fully alleged herein and further allege as follows:

       93.      Under 46 U.S.C. § 30306, “[w]hen a cause of action exists under the law of a

foreign country for death by wrongful act, neglect, or default on the high seas, a civil action in

admiralty may be brought in a court of the United States based on the foreign cause of action,

without abatement of the amount for which recovery is authorized.” 46 U.S.C. § 30306.

       94.      Japanese law provides for the recovery of damages for the death of an individual

caused by the negligence of another. Under Japanese law, legal heirs of the deceased can recover

both economic and non-economic damages as a result of the loss of their decedent family member.

       95.      At all times relevant herein, NYK Line, as the charterer and employer of the ACX

Crystal at the time of the collision, is liable for the negligence of the crew of the ACX Crystal. The

negligent acts and omissions by NYK Line, through the ACX Crystal’s crew, include, but are not

limited to, the following:

             a. Failure to contact the Master prior to the collision;

             b. Failure to sound any short blasts whatsoever, let alone the five such blasts required

                by the International Rules of the Road;



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             c. Failure to attempt to hail the USS Fitzgerald via bridge-to-bridge radio;

             d. Failure to take the vessel out of autopilot until just prior to impact;

             e. Failure to perform timely evasive maneuvering to avoid collision;

             f. Failure to otherwise warn the USS Fitzgerald of the impending collision; and

             g. Failure to otherwise follow the International Rules of the Road and its own Standing

                Orders.

       96.      As a direct and proximate result of NYK Line’s negligence, the ACX Crystal struck

the USS Fitzgerald and caused Shingo Alexander Douglass to suffer injuries, including drowning,

which led to his untimely death.

       97.      As a direct and proximate result of the collision, Shingo Alexander Douglass

suffered from extreme conscious physical, mental, and emotional pain and suffering, as well as

pre-death fright. His immediate pre-death physical injuries included, but are not limited to, injuries

to his shoulders, as evidenced by contusions, abrasions, and lacerations.

       98.      As a result of the collision and Shingo Alexander Douglass’s death, his lawful

beneficiaries have suffered and will continue to suffer from extreme anguish and mental suffering,

and pecuniary losses, including loss of financial and other support, loss of past income and future

wages and wage earning capacity, and loss of household services, among other damages.

       WHEREFORE, the lawful beneficiaries of Shingo Alexander Douglass demand judgment

against NYK Line on all counts in the full and just amount of Ten Million Dollars ($10,000,000.00)

plus interest and costs, and seek all damages available under DOHSA, including, but not limited

to, those available under United States law pursuant to 46 U.S.C. § 30302 and those available

under Japanese law pursuant to 46 U.S.C. § 30306.




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The Death of Plaintiff Noe Hernandez

                       COUNT III—46 U.S.C. §§ 30301-30308 (DOHSA)
                        WRONGFUL DEATH (PLAINTIFF HERNANDEZ)

       99.     Plaintiffs hereby incorporate by reference all paragraphs in the Complaint as though

fully alleged herein and further allege as follows:

       100.    The claims in the case at bar arise under the Death on the High Seas Act (DOHSA),

46 U.S.C. § 30301 et seq. DOHSA applies to this case in that the negligence committed by

personnel of NYK Line in connection with the collision between the USS Fitzgerald and the ACX

Crystal, causing the deaths of seven (7) United States Navy seamen, occurred on the “high seas”

more than three nautical miles from the shores of the United States. In addition, Japanese law

applies through the application of DOHSA, 46 U.S.C. § 30306, allowing for the recovery of both

economic and non-economic damages for wrongful death.

       101.    Therefore, Plaintiff Hernandez pleads a cause of action for the wrongful death of

Noe Hernandez under 46 U.S.C. § 30302, which states in relevant part that “[w]hen the death of

an individual is caused by wrongful act, neglect, or default occurring on the high seas beyond 3

nautical miles from the shore of the United States, the personal representative of the decedent may

bring a civil action in admiralty against the person or vessel responsible.” 46 U.S.C. § 30302.

       102.    Additionally, under 46 U.S.C. § 30306, “[w]hen a cause of action exists under the

law of a foreign country for death by wrongful act, neglect, or default on the high seas, a civil

action in admiralty may be brought in a court of the United States based on the foreign cause of

action, without abatement of the amount for which recovery is authorized.” 46 U.S.C. § 30306.

       103.    Japanese law provides for the recovery of damages for the death of an individual

caused by the negligence of another. Under Japanese law, legal heirs of the deceased can recover

both economic and non-economic damages as a result of the loss of their decedent family member.



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       104.    At all times relevant herein, NYK Line, as the charterer and employer of the ACX

Crystal at the time of the collision, is liable for the negligence of the crew of the ACX Crystal. The

negligent acts and omissions by NYK Line, through the ACX Crystal’s crew, include, but are not

limited to, the following:

           h. Failure to contact the Master prior to the collision;

           i. Failure to sound any short blasts whatsoever, let alone the five such blasts required

               by the International Rules of the Road;

           j. Failure to attempt to hail the USS Fitzgerald via bridge-to-bridge radio;

           k. Failure to take the vessel out of autopilot until just prior to impact;

           l. Failure to perform timely evasive maneuvering to avoid collision;

           m. Failure to otherwise warn the USS Fitzgerald of the impending collision; and

           n. Failure to otherwise follow the International Rules of the Road and its own standing

               orders.

       105.    As a direct and proximate result of NYK Line’s negligence, the ACX Crystal struck

the USS Fitzgerald and caused Noe Hernandez to suffer injuries, including drowning, which led

to his untimely death.

       106.    As a direct and proximate result of the collision, Noe Hernandez suffered from

extreme conscious physical, mental, and emotional pain and suffering, as well as pre-death fright.

       107.    As a result of the collision and Noe Hernandez’s death, his lawful beneficiaries

have suffered and will continue to suffer from extreme anguish and mental suffering, and

pecuniary losses, including loss of financial and other support, loss of past income and future

wages and wage earning capacity, loss of household services, loss of inheritance, and loss of

nurture, care and guidance for his minor child, among other damages.




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                         COUNT IV—46 U.S.C. §§ 30301-30308 (DOHSA)
                          SURVIVAL ACTION (PLAINTIFF HERNANDEZ)

       108.    Plaintiffs hereby incorporate by reference all paragraphs in the Complaint as though

fully alleged herein and further allege as follows:

       109.    Under 46 U.S.C. § 30306, “[w]hen a cause of action exists under the law of a

foreign country for death by wrongful act, neglect, or default on the high seas, a civil action in

admiralty may be brought in a court of the United States based on the foreign cause of action,

without abatement of the amount for which recovery is authorized.” 46 U.S.C. § 30306.

       110.    Japanese law provides for the recovery of damages for the death of an individual

caused by the negligence of another. Under Japanese law, legal heirs of the deceased can recover

both economic and non-economic damages as a result of the loss of their decedent family member.

       111.    At all times relevant herein, NYK Line, as the charterer and employer of the ACX

Crystal at the time of the collision, is liable for the negligence of the crew of the ACX Crystal. The

negligent acts and omissions by NYK Line, through the ACX Crystal’s crew, include, but are not

limited to, the following:

           a. Failure to contact the Master prior to the collision;

           b. Failure to sound any short blasts whatsoever, let alone the five such blasts required

               by the International Rules of the Road;

           c. Failure to attempt to hail the USS Fitzgerald via bridge-to-bridge radio;

           d. Failure to take the vessel out of autopilot until just prior to impact;

           e. Failure to perform timely evasive maneuvering to avoid collision;

           f. Failure to otherwise warn the USS Fitzgerald of the impending collision; and

           g. Failure to otherwise follow the International Rules of the Road and its own Standing

               Orders.



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       112.    As a direct and proximate result of NYK Line’s negligence, the ACX Crystal struck

the USS Fitzgerald and caused Noe Hernandez to suffer injuries, including drowning, which led

to his untimely death.

       113.    As a direct and proximate result of the collision, Noe Hernandez suffered from

extreme conscious physical, mental, and emotional pain and suffering, as well as pre-death fright.

       114.    As a result of the collision and Noe Hernandez’s death, his lawful beneficiaries

have suffered and will continue to suffer from extreme anguish and mental suffering, and

pecuniary losses, including loss of financial and other support, loss of past income and future

wages and wage earning capacity, loss of household services, loss of inheritance, and loss of

nurture, care and guidance for his minor child, among other damages.

       WHEREFORE, the lawful beneficiaries of Noe Hernandez demand judgment against NYK

Line on all counts in the full and just amount of Ten Million Dollars ($10,000,000.00) plus interest

and costs, and seek all damages available under DOHSA, including, but not limited to, those

available under United States law pursuant to 46 U.S.C. § 30302 and those available under

Japanese law pursuant to 46 U.S.C. § 30306.

The Death of Ngoc Truong Huynh

                         COUNT V—46 U.S.C. §§ 30301-30308 (DOHSA)
                            WRONGFUL DEATH (PLAINTIFF HUYNH)

       115.    Plaintiffs hereby incorporate by reference all paragraphs in the Complaint as though

fully alleged herein and further allege as follows:

       116.    The claims in the case at bar arise under the Death on the High Seas Act (DOHSA),

46 U.S.C. § 30301 et seq. DOHSA applies to this case in that the negligence committed by

personnel of NYK Line in connection with the collision between the USS Fitzgerald and the ACX

Crystal, causing the deaths of seven (7) United States Navy seamen, occurred on the “high seas”



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more than three nautical miles from the shores of the United States. In addition, Japanese law

applies through the application of DOHSA, 46 U.S.C. § 30306, allowing for the recovery of both

economic and non-economic damages for wrongful death.

       117.    Therefore, Plaintiff Huynh pleads a cause of action for the wrongful death of Ngoc

Truong Huynh under 46 U.S.C. § 30302, which states in relevant part that “[w]hen the death of an

individual is caused by wrongful act, neglect, or default occurring on the high seas beyond 3

nautical miles from the shore of the United States, the personal representative of the decedent may

bring a civil action in admiralty against the person or vessel responsible.” 46 U.S.C. § 30302.

       118.    Additionally, under 46 U.S.C. § 30306, “[w]hen a cause of action exists under the

law of a foreign country for death by wrongful act, neglect, or default on the high seas, a civil

action in admiralty may be brought in a court of the United States based on the foreign cause of

action, without abatement of the amount for which recovery is authorized.” 46 U.S.C. § 30306.

       119.    Japanese law provides for the recovery of damages for the death of an individual

caused by the negligence of another. Under Japanese law, legal heirs of the deceased can recover

both economic and non-economic damages as a result of the loss of their decedent family member.

       120.    At all times relevant herein, NYK Line, as the charterer and employer of the ACX

Crystal at the time of the collision, is liable for the negligence of the crew of the ACX Crystal. The

negligent acts and omissions by NYK Line, through the ACX Crystal’s crew, include, but are not

limited to, the following:

           a. Failure to contact the Master prior to the collision;

           b. Failure to sound any short blasts whatsoever, let alone the five such blasts required

               by the International Rules of the Road;

           c. Failure to attempt to hail the USS Fitzgerald via bridge-to-bridge radio;




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           d. Failure to take the vessel out of autopilot until just prior to impact;

           e. Failure to perform timely evasive maneuvering to avoid collision;

           f. Failure to otherwise warn the USS Fitzgerald of the impending collision; and

           g. Failure to otherwise follow the International Rules of the Road and its own standing

               orders.

       121.    As a direct and proximate result of NYK Line’s negligence, the ACX Crystal struck

the USS Fitzgerald and caused Ngoc Truong Huynh to suffer injuries, including drowning, which

led to his untimely death.

       122.    As a direct and proximate result of the collision, Ngoc Truong Huynh suffered from

extreme conscious physical, mental, and emotional pain and suffering, as well as pre-death fright.

       123.    As a result of the collision and Ngoc Truong Huynh’s death, his lawful beneficiaries

have suffered and will continue to suffer from extreme anguish and mental suffering, and

pecuniary losses, including loss of financial and other support, loss of past income and future

wages and wage earning capacity, and loss of household services, among other damages.

                         COUNT VI—46 U.S.C. §§ 30301-30308 (DOHSA)
                            SURVIVAL ACTION (PLAINTIFF HUYNH)

       124.    Plaintiffs hereby incorporate by reference all paragraphs in the Complaint as though

fully alleged herein and further allege as follows:

       125.    Under 46 U.S.C. § 30306, “[w]hen a cause of action exists under the law of a

foreign country for death by wrongful act, neglect, or default on the high seas, a civil action in

admiralty may be brought in a court of the United States based on the foreign cause of action,

without abatement of the amount for which recovery is authorized.” 46 U.S.C. § 30306.




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       126.    Japanese law provides for the recovery of damages for the death of an individual

caused by the negligence of another. Under Japanese law, legal heirs of the deceased can recover

both economic and non-economic damages as a result of the loss of their decedent family member.

       127.    At all times relevant herein, NYK Line, as the charterer and employer of the ACX

Crystal at the time of the collision, is liable for the negligence of the crew of the ACX Crystal. The

negligent acts and omissions by NYK Line, through the ACX Crystal’s crew, include, but are not

limited to, the following:

           a. Failure to contact the Master prior to the collision;

           b. Failure to sound any short blasts whatsoever, let alone the five such blasts required

               by the International Rules of the Road;

           c. Failure to attempt to hail the USS Fitzgerald via bridge-to-bridge radio;

           d. Failure to take the vessel out of autopilot until just prior to impact;

           e. Failure to perform timely evasive maneuvering to avoid collision;

           f. Failure to otherwise warn the USS Fitzgerald of the impending collision; and

           g. Failure to otherwise follow the International Rules of the Road and its own Standing

               Orders.

       128.    As a direct and proximate result of NYK Line’s negligence, the ACX Crystal struck

the USS Fitzgerald and caused Ngoc Truong Huynh to suffer injuries, including drowning, which

led to his untimely death.

       129.    As a direct and proximate result of the collision, Ngoc Truong Huynh suffered from

extreme conscious physical, mental, and emotional pain and suffering, as well as pre-death fright.

       130.    As a result of the collision and Ngoc Truong Huynh’s death, his lawful beneficiaries

have suffered and will continue to suffer from extreme anguish and mental suffering, and




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pecuniary losses, including loss of financial and other support, loss of past income and future

wages and wage earning capacity, and loss of household services, among other damages.

       WHEREFORE, the lawful beneficiaries of Ngoc Truong Huynh demand judgment against

NYK Line on all counts in the full and just amount of Ten Million Dollars ($10,000,000.00) plus

interest and costs, and seek all damages available under DOHSA, including, but not limited to,

those available under United States law pursuant to 46 U.S.C. § 30302 and those available under

Japanese law pursuant to 46 U.S.C. § 30306.

The Death of Xavier Alec Martin

                       COUNT VII—46 U.S.C. §§ 30301-30308 (DOHSA)
                          WRONGFUL DEATH (PLAINTIFF MARTIN)

       131.    Plaintiffs hereby incorporate by reference all paragraphs in the Complaint as though

fully alleged herein and further allege as follows:

       132.    The claims in the case at bar arise under the Death on the High Seas Act (DOHSA),

46 U.S.C. § 30301 et seq. DOHSA applies to this case in that the negligence committed by

personnel of NYK Line in connection with the collision between the USS Fitzgerald and the ACX

Crystal, causing the deaths of seven (7) United States Navy seamen, occurred on the “high seas”

more than three nautical miles from the shores of the United States. In addition, Japanese law

applies through the application of DOHSA, 46 U.S.C. § 30306, allowing for the recovery of both

economic and non-economic damages for wrongful death.

       133.    Therefore, Plaintiff Martin pleads a cause of action for the wrongful death of Xavier

Alec Martin under 46 U.S.C. § 30302, which states in relevant part that “[w]hen the death of an

individual is caused by wrongful act, neglect, or default occurring on the high seas beyond 3

nautical miles from the shore of the United States, the personal representative of the decedent may

bring a civil action in admiralty against the person or vessel responsible.” 46 U.S.C. § 30302.



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       134.    Additionally, under 46 U.S.C. § 30306, “[w]hen a cause of action exists under the

law of a foreign country for death by wrongful act, neglect, or default on the high seas, a civil

action in admiralty may be brought in a court of the United States based on the foreign cause of

action, without abatement of the amount for which recovery is authorized.” 46 U.S.C. § 30306.

       135.    Japanese law provides for the recovery of damages for the death of an individual

caused by the negligence of another. Under Japanese law, legal heirs of the deceased can recover

both economic and non-economic damages as a result of the loss of their decedent family member.

       136.    At all times relevant herein, NYK Line, as the charterer and employer of the ACX

Crystal at the time of the collision, is liable for the negligence of the crew of the ACX Crystal. The

negligent acts and omissions by NYK Line, through the ACX Crystal’s crew, include, but are not

limited to, the following:

           a. Failure to contact the Master prior to the collision;

           b. Failure to sound any short blasts whatsoever, let alone the five such blasts required

               by the International Rules of the Road;

           c. Failure to attempt to hail the USS Fitzgerald via bridge-to-bridge radio;

           d. Failure to take the vessel out of autopilot until just prior to impact;

           e. Failure to perform timely evasive maneuvering to avoid collision;

           f. Failure to otherwise warn the USS Fitzgerald of the impending collision; and

           g. Failure to otherwise follow the International Rules of the Road and its own standing

               orders.

       137.    As a direct and proximate result of NYK Line’s negligence, the ACX Crystal struck

the USS Fitzgerald and caused Xavier Alec Martin to suffer injuries, including drowning, which

led to his untimely death.




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       138.    As a direct and proximate result of the collision, Xavier Alec Martin suffered from

extreme conscious physical, mental, and emotional pain and suffering, as well as pre-death fright.

       139.    As a result of the collision and Xavier Alec Martin’s death, his lawful beneficiaries

have suffered and will continue to suffer from extreme anguish and mental suffering, and

pecuniary losses, including loss of financial and other support, loss of past income and future

wages and wage earning capacity, and loss of household services, among other damages.

                       COUNT VIII—46 U.S.C. §§ 30301-30308 (DOHSA)
                           SURVIVAL ACTION (PLAINTIFF MARTIN)

       140.    Plaintiffs hereby incorporate by reference all paragraphs in the Complaint as though

fully alleged herein and further allege as follows:

       141.    Under 46 U.S.C. § 30306, “[w]hen a cause of action exists under the law of a

foreign country for death by wrongful act, neglect, or default on the high seas, a civil action in

admiralty may be brought in a court of the United States based on the foreign cause of action,

without abatement of the amount for which recovery is authorized.” 46 U.S.C. § 30306.

       142.    Japanese law provides for the recovery of damages for the death of an individual

caused by the negligence of another. Under Japanese law, legal heirs of the deceased can recover

both economic and non-economic damages as a result of the loss of their decedent family member.

       143.    At all times relevant herein, NYK Line, as the charterer and employer of the ACX

Crystal at the time of the collision, is liable for the negligence of the crew of the ACX Crystal. The

negligent acts and omissions by NYK Line, through the ACX Crystal’s crew, include, but are not

limited to, the following:

           a. Failure to contact the Master prior to the collision;

           b. Failure to sound any short blasts whatsoever, let alone the five such blasts required

               by the International Rules of the Road;



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           c. Failure to attempt to hail the USS Fitzgerald via bridge-to-bridge radio;

           d. Failure to take the vessel out of autopilot until just prior to impact;

           e. Failure to perform timely evasive maneuvering to avoid collision;

           f. Failure to otherwise warn the USS Fitzgerald of the impending collision; and

           g. Failure to otherwise follow the International Rules of the Road and its own Standing

               Orders.

       144.    As a direct and proximate result of NYK Line’s negligence, the ACX Crystal struck

the USS Fitzgerald and caused Xavier Alec Martin to suffer injuries, including drowning, which

led to his untimely death.

       145.    As a direct and proximate result of the collision, Xavier Alec Martin suffered from

extreme conscious physical, mental, and emotional pain and suffering, as well as pre-death fright.

       146.    As a result of the collision and Xavier Alec Martin’s death, his lawful beneficiaries

have suffered and will continue to suffer from extreme anguish and mental suffering, and

pecuniary losses, including loss of financial and other support, loss of past income and future

wages and wage earning capacity, and loss of household services, among other damages.

       WHEREFORE, the lawful beneficiaries of Xavier Alec Martin demand judgment against

NYK Line on all counts in the full and just amount of Ten Million Dollars ($10,000,000.00) plus

interest and costs, and seek all damages available under DOHSA, including, but not limited to,

those available under United States law pursuant to 46 U.S.C. § 30302 and those available under

Japanese law pursuant to 46 U.S.C. § 30306.




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The Death of Gary Leo Rehm, Jr.

                        COUNT IX—46 U.S.C. §§ 30301-30308 (DOHSA)
                           WRONGFUL DEATH (PLAINTIFF REHM)

       147.    Plaintiffs hereby incorporate by reference all paragraphs in the Complaint as though

fully alleged herein and further allege as follows:

       148.    The claims in the case at bar arise under the Death on the High Seas Act (DOHSA),

46 U.S.C. § 30301 et seq. DOHSA applies to this case in that the negligence committed by

personnel of NYK Line in connection with the collision between the USS Fitzgerald and the ACX

Crystal, causing the deaths of seven (7) United States Navy seamen, occurred on the “high seas”

more than three nautical miles from the shores of the United States. In addition, Japanese law

applies through the application of DOHSA, 46 U.S.C. § 30306, allowing for the recovery of both

economic and non-economic damages for wrongful death.

       149.    Therefore, Plaintiff Rehm pleads a cause of action for the wrongful death of Gary

Leo Rehm, Jr. under 46 U.S.C. § 30302, which states in relevant part that “[w]hen the death of an

individual is caused by wrongful act, neglect, or default occurring on the high seas beyond 3

nautical miles from the shore of the United States, the personal representative of the decedent may

bring a civil action in admiralty against the person or vessel responsible.” 46 U.S.C. § 30302.

       150.    Additionally, under 46 U.S.C. § 30306, “[w]hen a cause of action exists under the

law of a foreign country for death by wrongful act, neglect, or default on the high seas, a civil

action in admiralty may be brought in a court of the United States based on the foreign cause of

action, without abatement of the amount for which recovery is authorized.” 46 U.S.C. § 30306.

       151.    Japanese law provides for the recovery of damages for the death of an individual

caused by the negligence of another. Under Japanese law, legal heirs of the deceased can recover

both economic and non-economic damages as a result of the loss of their decedent family member.



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       152.    At all times relevant herein, NYK Line, as the charterer and employer of the ACX

Crystal at the time of the collision, is liable for the negligence of the crew of the ACX Crystal. The

negligent acts and omissions by NYK Line, through the ACX Crystal’s crew, include, but are not

limited to, the following:

           a. Failure to contact the Master prior to the collision;

           b. Failure to sound any short blasts whatsoever, let alone the five such blasts required

               by the International Rules of the Road;

           c. Failure to attempt to hail the USS Fitzgerald via bridge-to-bridge radio;

           d. Failure to take the vessel out of autopilot until just prior to impact;

           e. Failure to perform timely evasive maneuvering to avoid collision;

           f. Failure to otherwise warn the USS Fitzgerald of the impending collision; and

           g. Failure to otherwise follow the International Rules of the Road and its own standing

               orders.

       153.    As a direct and proximate result of NYK Line’s negligence, the ACX Crystal struck

the USS Fitzgerald and caused Gary Leo Rehm, Jr. to suffer injuries, including drowning, which

led to his untimely death.

       154.    As a direct and proximate result of the collision, Gary Leo Rehm, Jr. suffered from

extreme conscious physical, mental, and emotional pain and suffering, as well as pre-death fright.

       155.    As a result of the collision and Gary Leo Rehm, Jr.’s death, his lawful beneficiaries

have suffered and will continue to suffer from extreme anguish and mental suffering, and

pecuniary losses, including loss of financial and other support, loss of past income and future

wages and wage earning capacity, and loss of household services, among other damages.




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                         COUNT X—46 U.S.C. §§ 30301-30308 (DOHSA)
                            SURVIVAL ACTION (PLAINTIFF REHM)

       156.    Plaintiffs hereby incorporate by reference all paragraphs in the Complaint as though

fully alleged herein and further allege as follows:

       157.    Under 46 U.S.C. § 30306, “[w]hen a cause of action exists under the law of a

foreign country for death by wrongful act, neglect, or default on the high seas, a civil action in

admiralty may be brought in a court of the United States based on the foreign cause of action,

without abatement of the amount for which recovery is authorized.” 46 U.S.C. § 30306.

       158.    Japanese law provides for the recovery of damages for the death of an individual

caused by the negligence of another. Under Japanese law, legal heirs of the deceased can recover

both economic and non-economic damages as a result of the loss of their decedent family member.

       159.    At all times relevant herein, NYK Line, as the charterer and employer of the ACX

Crystal at the time of the collision, is liable for the negligence of the crew of the ACX Crystal. The

negligent acts and omissions by NYK Line, through the ACX Crystal’s crew, include, but are not

limited to, the following:

           a. Failure to contact the Master prior to the collision;

           b. Failure to sound any short blasts whatsoever, let alone the five such blasts required

               by the International Rules of the Road;

           c. Failure to attempt to hail the USS Fitzgerald via bridge-to-bridge radio;

           d. Failure to take the vessel out of autopilot until just prior to impact;

           e. Failure to perform timely evasive maneuvering to avoid collision;

           f. Failure to otherwise warn the USS Fitzgerald of the impending collision; and

           g. Failure to otherwise follow the International Rules of the Road and its own Standing

               Orders.



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       160.    As a direct and proximate result of NYK Line’s negligence, the ACX Crystal struck

the USS Fitzgerald and caused Gary Leo Rehm, Jr. to suffer injuries, including drowning, which

led to his untimely death.

       161.    As a direct and proximate result of the collision, Gary Leo Rehm, Jr. suffered from

extreme conscious physical, mental, and emotional pain and suffering, as well as pre-death fright.

       162.    As a result of the collision and Gary Leo Rehm, Jr.’s death, his lawful beneficiaries

have suffered and will continue to suffer from extreme anguish and mental suffering, and

pecuniary losses, including loss of financial and other support, loss of past income and future

wages and wage earning capacity, and loss of household services, among other damages.

       WHEREFORE, the lawful beneficiaries of Gary Leo Rehm, Jr. demand judgment against

NYK Line on all counts in the full and just amount of Ten Million Dollars ($10,000,000.00) plus

interest and costs, and seek all damages available under DOHSA, including, but not limited to,

those available under United States law pursuant to 46 U.S.C. § 30302 and those available under

Japanese law pursuant to 46 U.S.C. § 30306.

The Death of Dakota Kyle Rigsby

                        COUNT XI—46 U.S.C. §§ 30301-30308 (DOHSA)
                           WRONGFUL DEATH (PLAINTIFF RIGSBY)

       163.    Plaintiffs hereby incorporate by reference all paragraphs in the Complaint as though

fully alleged herein and further allege as follows:

       164.    The claims in the case at bar arise under the Death on the High Seas Act (DOHSA),

46 U.S.C. § 30301 et seq. DOHSA applies to this case in that the negligence committed by

personnel of NYK Line in connection with the collision between the USS Fitzgerald and the ACX

Crystal, causing the deaths of seven (7) United States Navy seamen, occurred on the “high seas”

more than three nautical miles from the shores of the United States. In addition, Japanese law



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applies through the application of DOHSA, 46 U.S.C. § 30306, allowing for the recovery of both

economic and non-economic damages for wrongful death.

       165.    Therefore, Plaintiff Rigsby pleads a cause of action for the wrongful death of

Dakota Kyle Rigsby under 46 U.S.C. § 30302, which states in relevant part that “[w]hen the death

of an individual is caused by wrongful act, neglect, or default occurring on the high seas beyond 3

nautical miles from the shore of the United States, the personal representative of the decedent may

bring a civil action in admiralty against the person or vessel responsible.” 46 U.S.C. § 30302.

       166.    Additionally, under 46 U.S.C. § 30306, “[w]hen a cause of action exists under the

law of a foreign country for death by wrongful act, neglect, or default on the high seas, a civil

action in admiralty may be brought in a court of the United States based on the foreign cause of

action, without abatement of the amount for which recovery is authorized.” 46 U.S.C. § 30306.

       167.    Japanese law provides for the recovery of damages for the death of an individual

caused by the negligence of another. Under Japanese law, legal heirs of the deceased can recover

both economic and non-economic damages as a result of the loss of their decedent family member.

       168.    At all times relevant herein, NYK Line, as the charterer and employer of the ACX

Crystal at the time of the collision, is liable for the negligence of the crew of the ACX Crystal. The

negligent acts and omissions by NYK Line, through the ACX Crystal’s crew, include, but are not

limited to, the following:

           a. Failure to contact the Master prior to the collision;

           b. Failure to sound any short blasts whatsoever, let alone the five such blasts required

               by the International Rules of the Road;

           c. Failure to attempt to hail the USS Fitzgerald via bridge-to-bridge radio;

           d. Failure to take the vessel out of autopilot until just prior to impact;




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           e. Failure to perform timely evasive maneuvering to avoid collision;

           f. Failure to otherwise warn the USS Fitzgerald of the impending collision; and

           g. Failure to otherwise follow the International Rules of the Road and its own standing

               orders.

       169.    As a direct and proximate result of NYK Line’s negligence, the ACX Crystal struck

the USS Fitzgerald and caused Dakota Kyle Rigsby to suffer injuries, including drowning, which

led to his untimely death.

       170.    As a direct and proximate result of the collision, Dakota Kyle Rigsby suffered from

extreme conscious physical, mental, and emotional pain and suffering, as well as pre-death fright.

       171.    As a result of the collision and Dakota Kyle Rigsby’s death, his lawful beneficiaries

have suffered and will continue to suffer from extreme anguish and mental suffering, and

pecuniary losses, including loss of financial and other support, loss of past income and future

wages and wage earning capacity, and loss of household services, among other damages.

                         COUNT XII—46 U.S.C. §§ 30301-30308 (DOHSA)
                             SURVIVAL ACTION (PLAINTIFF RIGSBY)

       172.    Plaintiffs hereby incorporate by reference all paragraphs in the Complaint as though

fully alleged herein and further allege as follows:

       173.    Under 46 U.S.C. § 30306, “[w]hen a cause of action exists under the law of a

foreign country for death by wrongful act, neglect, or default on the high seas, a civil action in

admiralty may be brought in a court of the United States based on the foreign cause of action,

without abatement of the amount for which recovery is authorized.” 46 U.S.C. § 30306.

       174.    Japanese law provides for the recovery of damages for the death of an individual

caused by the negligence of another. Under Japanese law, legal heirs of the deceased can recover

both economic and non-economic damages as a result of the loss of their decedent family member.



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       175.    At all times relevant herein, NYK Line, as the charterer and employer of the ACX

Crystal at the time of the collision, is liable for the negligence of the crew of the ACX Crystal. The

negligent acts and omissions by NYK Line, through the ACX Crystal’s crew, include, but are not

limited to, the following:

           a. Failure to contact the Master prior to the collision;

           b. Failure to sound any short blasts whatsoever, let alone the five such blasts required

               by the International Rules of the Road;

           c. Failure to attempt to hail the USS Fitzgerald via bridge-to-bridge radio;

           d. Failure to take the vessel out of autopilot until just prior to impact;

           e. Failure to perform timely evasive maneuvering to avoid collision;

           f. Failure to otherwise warn the USS Fitzgerald of the impending collision; and

           g. Failure to otherwise follow the International Rules of the Road and its own Standing

               Orders.

       176.    As a direct and proximate result of NYK Line’s negligence, the ACX Crystal struck

the USS Fitzgerald and caused Dakota Kyle Rigsby to suffer injuries, including drowning, which

led to his untimely death.

       177.    As a direct and proximate result of the collision, Dakota Kyle Rigsby suffered from

extreme conscious physical, mental, and emotional pain and suffering, as well as pre-death fright.

       178.    As a result of the collision and Dakota Kyle Rigsby’s death, his lawful beneficiaries

have suffered and will continue to suffer from extreme anguish and mental suffering, and

pecuniary losses, including loss of financial and other support, loss of past income and future

wages and wage earning capacity, and loss of household services, among other damages.




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       WHEREFORE, the lawful beneficiaries of Dakota Kyle Rigsby demand judgment against

NYK Line on all counts in the full and just amount of Ten Million Dollars ($10,000,000.00) plus

interest and costs, and seek all damages available under DOHSA, including, but not limited to,

those available under United States law pursuant to 46 U.S.C. § 30302 and those available under

Japanese law pursuant to 46 U.S.C. § 30306.

The Death of Carlos Victor Ganzon Sibayan

                       COUNT XIII—46 U.S.C. §§ 30301-30308 (DOHSA)
                          WRONGFUL DEATH (PLAINTIFF SIBAYAN)

       179.    Plaintiffs hereby incorporate by reference all paragraphs in the Complaint as though

fully alleged herein and further allege as follows:

       180.    The claims in the case at bar arise under the Death on the High Seas Act (DOHSA),

46 U.S.C. § 30301 et seq. DOHSA applies to this case in that the negligence committed by

personnel of NYK Line in connection with the collision between the USS Fitzgerald and the ACX

Crystal, causing the deaths of seven (7) United States Navy seamen, occurred on the “high seas”

more than three nautical miles from the shores of the United States. In addition, Japanese law

applies through the application of DOHSA, 46 U.S.C. § 30306, allowing for the recovery of both

economic and non-economic damages for wrongful death.

       181.    Therefore, Plaintiff Sibayan pleads a cause of action for the wrongful death of

Carlos Victor Ganzon Sibayan under 46 U.S.C. § 30302, which states in relevant part that “[w]hen

the death of an individual is caused by wrongful act, neglect, or default occurring on the high seas

beyond 3 nautical miles from the shore of the United States, the personal representative of the

decedent may bring a civil action in admiralty against the person or vessel responsible.” 46 U.S.C.

§ 30302.




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       182.    Additionally, under 46 U.S.C. § 30306, “[w]hen a cause of action exists under the

law of a foreign country for death by wrongful act, neglect, or default on the high seas, a civil

action in admiralty may be brought in a court of the United States based on the foreign cause of

action, without abatement of the amount for which recovery is authorized.” 46 U.S.C. § 30306.

       183.    Japanese law provides for the recovery of damages for the death of an individual

caused by the negligence of another. Under Japanese law, legal heirs of the deceased can recover

both economic and non-economic damages as a result of the loss of their decedent family member.

       184.    At all times relevant herein, NYK Line, as the charterer and employer of the ACX

Crystal at the time of the collision, is liable for the negligence of the crew of the ACX Crystal. The

negligent acts and omissions by NYK Line, through the ACX Crystal’s crew, include, but are not

limited to, the following:

           a. Failure to contact the Master prior to the collision;

           b. Failure to sound any short blasts whatsoever, let alone the five such blasts required

               by the International Rules of the Road;

           c. Failure to attempt to hail the USS Fitzgerald via bridge-to-bridge radio;

           d. Failure to take the vessel out of autopilot until just prior to impact;

           e. Failure to perform timely evasive maneuvering to avoid collision;

           f. Failure to otherwise warn the USS Fitzgerald of the impending collision; and

           g. Failure to otherwise follow the International Rules of the Road and its own standing

               orders.

       185.    As a direct and proximate result of NYK Line’s negligence, the ACX Crystal struck

the USS Fitzgerald and caused Carlos Victor Ganzon Sibayan to suffer injuries, including

drowning, which led to his untimely death.




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       186.    As a direct and proximate result of the collision, Carlos Victor Ganzon Sibayan

suffered from extreme conscious physical, mental, and emotional pain and suffering, as well as

pre-death fright.

       187.    As a result of the collision and Carlos Victor Ganzon Sibayan’s death, his lawful

beneficiaries have suffered and will continue to suffer from extreme anguish and mental suffering,

and pecuniary losses, including loss of financial and other support, loss of past income and future

wages and wage earning capacity, and loss of household services, among other damages.

                       COUNT XIV—46 U.S.C. §§ 30301-30308 (DOHSA)
                          SURVIVAL ACTION (PLAINTIFF SIBAYAN)

       188.    Plaintiffs hereby incorporate by reference all paragraphs in the Complaint as though

fully alleged herein and further allege as follows:

       189.    Under 46 U.S.C. § 30306, “[w]hen a cause of action exists under the law of a

foreign country for death by wrongful act, neglect, or default on the high seas, a civil action in

admiralty may be brought in a court of the United States based on the foreign cause of action,

without abatement of the amount for which recovery is authorized.” 46 U.S.C. § 30306.

       190.    Japanese law provides for the recovery of damages for the death of an individual

caused by the negligence of another. Under Japanese law, legal heirs of the deceased can recover

both economic and non-economic damages as a result of the loss of their decedent family member.

       191.    At all times relevant herein, NYK Line, as the charterer and employer of the ACX

Crystal at the time of the collision, is liable for the negligence of the crew of the ACX Crystal. The

negligent acts and omissions by NYK Line, through the ACX Crystal’s crew, include, but are not

limited to, the following:

           a. Failure to contact the Master prior to the collision;




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           b. Failure to sound any short blasts whatsoever, let alone the five such blasts required

               by the International Rules of the Road;

           c. Failure to attempt to hail the USS Fitzgerald via bridge-to-bridge radio;

           d. Failure to take the vessel out of autopilot until just prior to impact;

           e. Failure to perform timely evasive maneuvering to avoid collision;

           f. Failure to otherwise warn the USS Fitzgerald of the impending collision; and

           g. Failure to otherwise follow the International Rules of the Road and its own Standing

               Orders.

       192.    As a direct and proximate result of NYK Line’s negligence, the ACX Crystal struck

the USS Fitzgerald and caused Carlos Victor Ganzon Sibayan to suffer injuries, including

drowning, which led to his untimely death.

       193.    As a direct and proximate result of the collision, Carlos Victor Ganzon Sibayan

suffered from extreme conscious physical, mental, and emotional pain and suffering, as well as

pre-death fright.

       194.    As a result of the collision and Carlos Victor Ganzon Sibayan’s death, his lawful

beneficiaries have suffered and will continue to suffer from extreme anguish and mental suffering,

and pecuniary losses, including loss of financial and other support, loss of past income and future

wages and wage earning capacity, and loss of household services, among other damages.

       WHEREFORE, the lawful beneficiaries of Carlos Victor Ganzon Sibayan demand judgment

against NYK Line on all counts in the full and just amount of Ten Million Dollars ($10,000,000.00)

plus interest and costs, and seek all damages available under DOHSA, including, but not limited

to, those available under United States law pursuant to 46 U.S.C. § 30302 and those available

under Japanese law pursuant to 46 U.S.C. § 30306.




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                                    JURY DEMAND

      Plaintiffs request a jury trial regarding liability and damages for all counts of this

Complaint.

                                                   Respectfully submitted,

                                                   By:    /s/ Craig Isenberg
                                                         Craig Isenberg, T.A., 29603
                                                         Laurence D LeSueur, Jr., 35206
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                                                         Counsel for Plaintiffs




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